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                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION


     In re:                                                             Chapter 11

     23ANDME HOLDING CO., et al., 1                                     Case No. 25-40976

                              Debtors.                                  (Jointly Administered)

                                                                        Hearing Date: June 3, 2025
                                                                        Hearing Time: 1:30 p.m. CDT
                                                                        Hearing Location: Courtroom 5 North
                                                                        Objection Deadline: May 27, 2025 at
                                                                        4:00 p.m. CDT

                                    AMENDED NOTICE OF HEARING

              PLEASE TAKE NOTICE that a hearing on the below listed applications (the

 “Applications”) is scheduled for June 3, 2025 at 1:30 p.m. (Central Time) in Courtroom 5-

 North at the United States Bankruptcy Court for the Eastern District of Missouri, Thomas F.

 Eagleton United States Courthouse, 111 South Tenth Street, St. Louis, Missouri:

              1.) Debtors’ Application for Entry of an Order (I) Authorizing the Debtors to Retain and
                  Employ Deloitte Tax LLP for Tax Advisory Services Effective as of the Petition Date,
                  and (II) Granting Related Relief [Docket No. 373];

              2.) Consumer Privacy Ombudsman’s Application for Entry Ofanorder Authorizing The
                  Retention Andemployment of Wilmercutler Pickering Hale And Dorr LLP as Counsel
                  Effective as of May 13, 2025 [Docket No. 406];

              ANY OBJECTIONS OR EXCEPTIONS TO ENTRY OF THE ORDER MUST BE

 FILED BY NO LATER THAN MAY 27, 2025 AT 4:00 P.M. CDT AND MUST BE SERVED

 UPON THE UNDERSIGNED AND FILED WITH THE CLERK OF THE UNITED


 1
       The Debtors in each of these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: 23andMe Holding Co. (0344), 23andMe, Inc. (7371), 23andMe Pharmacy Holdings, Inc. (4690),
       Lemonaid Community Pharmacy, Inc. (7330), Lemonaid Health, Inc. (6739), Lemonaid Pharmacy Holdings Inc.
       (6500), LPharm CS LLC (1125), LPharm INS LLC (9800), LPharm RX LLC (7746), LPRXOne LLC (3447),
       LPRXThree LLC (3852), and LPRXTwo LLC (1595). The Debtors’ service address for purposes of these
       chapter 11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102..
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 STATES BANKRUPTCY COURT, THOMAS F. EAGLETON COURTHOUSE, 111

 SOUTH TENTH STREET, 4TH FLOOR, ST. LOUIS, MISSOURI 63102 AS PER THE

 ELECTRONIC CASE FILING REQUIREMENTS OF THE COURT.

        WARNING: THIS APPLICATIONS SEEK AN ORDER THAT MAY ADVERSELY

 AFFECT YOU. IF YOU OPPOSE THE APPLICATION, YOU SHOULD IMMEDIATELY

 CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE

 MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A

 COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE

 BY 27TH DAY OF MAY, 2025. YOUR RESPONSE MUST STATE WHY THE

 APPLICATIONS SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY

 RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO

 YOU. IF YOU OPPOSE THE APPLICATIONS AND HAVE NOT REACHED AN

 AGREEMENT, YOU MUST ATTEND THE HEARING. THE DATE IS SET OUT ABOVE.

 UNLESS THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER

 EVIDENCE AT THE HEARING AND MAY DECIDE THE APPLICATIONS AT THE

 HEARING.       REPRESENTED         PARTIES       SHOULD       ACT     THROUGH        THEIR

 ATTORNEYS

        PLEASE TAKE FURTHER NOTICE that the Court has scheduled the hearing on the

 Applications to commence on June 3, 2025 at 1:30 p.m. (prevailing Central Time) in Courtroom 5

 North of the Thomas F. Eagleton United States Courthouse, 111 South Tenth Street, St. Louis,

 Missouri (the “Hearing”). Interested parties who wish to appear remotely by video conference

 must contact the Honorable Brian C. Walsh’s Courtroom Deputy, Craig Spidle, at (314) 244-4806

 or BCW_matters@moeb.uscourts.gov to obtain permission and make arrangements.
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        PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should read

 the Applications carefully and discuss them with your attorney, if you have one in these chapter

 11 cases. (If you do not have an attorney, you may wish to consult one).

        PLEASE TAKE FURTHER NOTICE that if you do not want the Court to grant the relief

 requested in the Applications, or if you want the Court to consider your view on the Applications,

 then you or your attorney must attend the Hearing.

        If you or your attorney do not take these steps, the Court may decide that you do not oppose

 the relief sought in the Applications and may enter orders granting the relief requested in the

 Applications.


 Dated: May 13, 2025                          Respectfully submitted,
 St. Louis, Missouri
                                              Carmody MacDonald P.C.

                                              /s/ Thomas H. Riske_______
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                                              Robert E. Eggmann #37374MO
                                              Nathan R. Wallace #74890MO
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                                              - and -

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                                      Counsel to the Debtors and Debtors in Possession
